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 1   SCOTT N. CAMERON
     Attorney at Law
 2   1007 7th Street, Suite 319
     Sacramento, California 95814
 3   Telephone: (916) 442-5230
 4   Attorney for:
     SARAH LEANNE LANCASTER
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 6
 7                       IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     )          CASE NO.    2:08-cr-00392 GEB
                                   )
11                  Plaintiff,     )          STIPULATION AND ORDER TO MODIFY
                                   )          CONDITIONS OF PRETRIAL RELEASE
12        v.                       )
                                   )
13   SARAH LEANNE LANCASTER,       )
               et. al.             )
14                                 )
                    Defendants.    )
15   ______________________________)
16
                                      Stipulation
17
          The parties, through undersigned counsel, stipulate that the
18
     pretrial release conditions of SARAH LANCASTER are to be modified as
19
     follows:
20
          1. SARAH LANCASTER shall abstain from the use of alcohol or any
21
     use of a narcotic drug or other controlled substance without a
22
     prescription by a licensed medical practitioner; and SARAH LANCASTER
23
     shall     notify   Pretrial   Services       immediately   of   any   prescribed
24
     medication(s).     However, medicinal marijuana, prescribed or not, may
25
     not be used;
26
          2.     SARAH LANCASTER shall participate in the substance abuse
27
     treatment program at The Effort, Inc., inpatient facility, and comply
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 1   with all the rules and regulations of the program. SARAH LANCASTER
 2   shall remain at The Effort, Inc., inpatient facility at 1550 Juliesse
 3   Avenue, Sacramento, California 95815, until released by the pretrial
 4   services officer;
 5        3.   A responsible party approved by Pretrial Services shall
 6   escort SARAH LANCASTER to all required court hearings and escort SARAH
 7   LANCASTER back to The Effort upon completion of the hearing;
 8        4. Upon successful completion of The Effort Residential Program
 9   and SARAH LANCASTER shall reside at 1023 W Street #2 Sacramento, CA
10   95818 and SARAH LANCASTER shall not change her residence or absent
11   herself from this residence for more than 24 hours without the prior
12   approval of the pretrial services officer; and
13        5. Upon completion of the residential program, SARAH LANCASTER
14   shall participate in a program of medical or psychiatric treatment,
15   including treatment for drug or alcohol dependency, as approved by the
16   pretrial services officer.
17        6.   All other previous terms and conditions of pretrial release
18   not in conflict with this order remain unchanged.
19        The prosecutor has authorized the defense counsel for SARAH
20   LANCASTER to sign this stipulation on his behalf.
21
22   DATED: December 10, 2008                      McGREGOR W. SCOTT
                                                   United States Attorney
23
24                                            by    /s/Michael Beckwith
                                                   Michael Beckwith
25                                                 Assistant U.S. Attorney
26
     DATED: December 10, 2008
27                                            by    /s/Scott N. Cameron
                                                   Scott N. Cameron
28                                                 Counsel for SARAH LANCASTER

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 1                                          Order
 2           Good cause appearing,
 3           The conditions of SARAH LANCASTER’s pretrial release are hereby
 4   modified as follows:
 5           1. SARAH LANCASTER shall abstain from the use of alcohol or any
 6   use of a narcotic drug or other controlled substance without a
 7   prescription by a licensed medical practitioner; and SARAH LANCASTER
 8   shall        notify   Pretrial   Services       immediately   of   any   prescribed
 9   medication(s).        However, medicinal marijuana, prescribed or not, may
10   not be used;
11           2.     SARAH LANCASTER shall participate in the substance abuse
12   treatment program at The Effort, Inc., inpatient facility, and comply
13   with all the rules and regulations of the program. SARAH LANCASTER
14   shall remain at The Effort, Inc., inpatient facility at 1550 Juliesse
15   Avenue, Sacramento, California 95815, until released by the pretrial
16   services officer;
17           3.     A responsible party approved by Pretrial Services shall
18   escort SARAH LANCASTER to all required court hearings and escort SARAH
19   LANCASTER back to The Effort upon completion of the hearing;
20           4. Upon successful completion of The Effort Residential Program
21   and SARAH LANCASTER shall reside at 1023 W Street #2 Sacramento, CA
22   95818 and SARAH LANCASTER shall not change her residence or absent
23   herself from this residence for more than 24 hours without the prior
24   approval of the pretrial services officer; and
25   / / /
26   / / /
27   / / /
28   / / /

                                                 3
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 1        5. Upon completion of the residential program, SARAH LANCASTER
 2   shall participate in a program of medical or psychiatric treatment,
 3   including treatment for drug or alcohol dependency, as approved by the
 4   pretrial services officer.
 5        6.    All other previous terms and conditions of pretrial release
 6   not in conflict with this order remain unchanged.
 7        IT IS SO ORDERED.
 8   DATED:    December 12, 2008.
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